     Case 4:03-cr-00230 Document 510 Filed on 12/01/06 in TXSD Page 1 of 2




                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

UNITED STATES OF AMERICA,                     §
                                              §
v.                                            §              CRIMINAL NO. H-03-0230-02
                                              §
FRANK NW ABARDI,                              §                (Civil Action No. H-06-3701)
                                              §


                             ORDER FOR A RESPONSE

       Pending before the Court is a motion filed by the defendant, Frank Nwabardi, to

vacate, set aside, or correct sentence under 28 U.S.C. § 2255. After conducting a preliminary

review of the motion, the Court concludes that an answer is needed. Accordingly, pursuant

to 28 U.S.C. § 2255 and the Rules Governing Section 2255 Proceedings, the Court

ORDERS as follows:

       1.     The Clerk shall serve a copy of the motion and supporting memorandum (Crim.

Docs. # 508, # 509) and this order upon the United States Attorney for the Southern District

of Texas, Attention: Jim Turner, Assistant U.S. Attorney, P.O. Box 61129, Houston, Texas

77208-1129, by certified mail, return receipt requested.

       2.     The government is directed to file an answer or other appropriate pleading in

response to the defendant’s § 2255 motion on or before February 2, 2007, and shall forward

a copy of same to the defendant by certified mail, return receipt requested.

       3.     The defendant shall file any reply to the government’s answer within thirty

(30) days of the date reflected on the certificate of service. If the defendant fails to comply

on time, the Court may dismiss this case for want of prosecution pursuant to Rule 41(b) of
    Case 4:03-cr-00230 Document 510 Filed on 12/01/06 in TXSD Page 2 of 2




the Federal Rules of Civil Procedure.

      The Clerk will provide a copy of this order to the parties.

      SIGNED at Houston, Texas, on December 1st , 2006.




                                            2
